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                       UNITED STATES DISTRICT COURT FOR THE

                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )          Case No.   1:07-cr-00150 AWI
                              )
     vs.                      )          ORDER OF DETENTION EFFECTIVE
                              )          MARCH 25, 2008 FOLLOWING REVOCATION
WILLIAM EUGENE CONNELLY,      )          OF PREVIOUSLY SET CONDITIONS OF RELEASE
                              )
               Defendant.     )
______________________________)

A.   Order for Revocation and Detention

     After conducting a hearing on March 11, 2008, pursuant to 18 U.S.C. § 3148(b)
     on the government's request for revocation of the previous order for release,
     the Court orders the previous conditions of pretrial release revoked and this
     defendant detained on March 25, 2008.

     Defendant is ordered to report for detention to the United States Marshal’s
     Office, which is located at 2500 Tulare Street in Fresno, California, by 11:00
     a.m. on March 25, 2008.

B.   Statement of Reasons for the Revocation and Detention

     The Court orders the revocation of pretrial release conditions and the
     defendant's detention because it finds:

            (1)   There is probable cause to believe this defendant has committed
                  a Federal, State, or local crime while on release.

                                           or

       X    (2)   There is clear and convincing evidence that this defendant has
                  violated a condition or conditions of release.

                                           and

            (3)   That based on the factors set forth in § 3142(g), there is no
                  condition or combination of conditions of release that will assure
                  that this defendant will not flee or pose a danger to the safety of
                  any other person or the community; or,

       X    (4)   That this defendant is unlikely to abide by any condition or
                  combination of conditions of release.

            (5)   That this defendant has not rebutted the rebuttable presumption
                  contained in 18 U.S.C. § 3148(b) that no condition or combination
                  of conditions will assure that the person will not pose a danger
                  to the safety of any other person or the community based upon the
                  existence of probable cause to believe that, while on release, the
                  defendant committed a Federal, State, or local felony.


           IT IS SO ORDERED.
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         Dated:  March 13, 2008                /s/ Gary S. Austin
60kij8                                  UNITED STATES MAGISTRATE JUDGE
